UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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JOHN DOE,                                                                :
                                                                         :
                                         Plaintiff,                      :
                                                                         :
                          v.                                             :   Case No. 24-CV-07774 (JPO)
                                                                         :
SEAN COMBS, DADDY’S HOUSE                                                :   ORAL ARGUMENT REQUESTED
RECORDINGS INC., CE OPCO, LLC d/b/a                                      :
COMBS GLOBAL f/k/a COMBS ENTERPRISES :
LLC, BAD BOY ENTERTAINMENT HOLDINGS, :
INC., BAD BOY PRODUCTIONS HOLDINGS,                                      :
INC., BAD BOY BOOKS HOLDINGS, INC., BAD :
BOY RECORDS LLC, BAD BOY                                                 :
ENTERTAINMENT LLC, BAD BOY                                               :
PRODUCTIONS LLC, ORGANIZATIONAL                                          :
DOES 1-10, and MACY’S INC.

                                         Defendants.
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x


                           MEMORANDUM OF LAW IN SUPPORT OF
                         MOTION TO DISMISS THE COMPLAINT AGAINST
                                 THE COMBS DEFENDANTS



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                                       Enterprises, LLC, Bad Boy Entertainment
                                       Holdings, Inc., Bad Boy Productions
                                       Holdings, Inc., Bad Boy Books Holdings,
                                       Inc., Bad Boy Entertainment LLC, and Bad
                                       Boy Productions LLC



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       This memorandum of law is respectfully submitted on behalf of defendants Sean Combs

(“Mr. Combs”), Daddy’s House Recordings Inc., CE OpCo, LLC d/b/a Combs Global f/k/a

Combs Enterprises, LLC, Bad Boy Entertainment Holdings, Inc., Bad Boy Productions

Holdings, Inc., Bad Boy Books Holdings, Inc., Bad Boy Entertainment LLC, and Bad Boy

Productions LLC (collectively, the “Combs Defendants,” and excluding Mr. Combs, the

“Company Defendants”) in support of their motion to dismiss the Complaint (ECF #1, the

“Complaint” or “Compl.”) with prejudice.

                                 PRELIMINARY STATEMENT

       Mr. Combs denies the entirely false and salacious claims against him in the Complaint and

is confident that he and the Company Defendants (against whom no misconduct or participation

is even alleged) would be fully vindicated if this case were to proceed to trial. This case, however,

should not proceed to trial because Plaintiff’s single claim, brought under New York City’s

Victims of Gender-Motivated Violence Protection Law (“GMVL”), is both time barred and

otherwise fails to state a claim upon which relief can be granted. Accordingly, this lawsuit should

be dismissed in its entirety at the pleading stage.

       Plaintiff’s GMVL claim fails because it is time-barred. Plaintiff’s claim expired long

before the GMVL’s seven-year statute of limitations had run. And the GMVL’s two-year revival

window does not apply because it is preempted by overlapping state law, as other courts in this

district have found.

       Even if it were timely (it is not), Plaintiff’s GMVL claim would still independently fail

because it does not allege the required element of gender animus. Plaintiff does not allege facts

sufficient to support a plausible inference that Mr. Combs’ alleged same-sex assault against him

was somehow motivated by Mr. Combs’ hatred for his own gender. To the contrary, Plaintiff


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(falsely and maliciously) alleges that Mr. Combs has a long history of victimizing both men and

women indiscriminately.

        Finally, even if Plaintiff had pled a GMVL claim against Mr. Combs (he has not), the claim

against the Company Defendants necessarily fails. The GMVL only applied to natural persons,

not entities, until it was amended in 2022. As courts in this district have unanimously held, the

GMVL therefore cannot be retroactively applied to company conduct pre-dating 2022. Moreover,

even if the GMVL could be applied to the Company Defendants (it cannot), there are no allegations

of specific conduct by them that could render them liable under the GMVL.

        For these reasons, the Complaint should be dismissed in its entirety against the Combs

Defendants.

                            FACTS ALLEGED IN THE COMPLAINT 1

        Plaintiff alleges that he worked as an advisor for Ecko Clothing, which was a competitor

of Sean John, a clothing line associated with Mr. Combs. Compl. ¶¶ 35-37. Plaintiff alleges that

in 2008, Mr. Combs alleged sexually assaulted Plaintiff while he was working in Macy’s flagship

store in Manhattan. Id. ¶¶ 38-42.

                                       STANDARD OF REVIEW

        Under Fed. R. Civ. P. 12(b)(6), a district court “accept[s] all of the complaint’s factual

allegations as true and draw[s] all reasonable inferences in the plaintiffs’ favor.” Giunta v.

Dingman, 893 F.3d 73, 79 (2d Cir. 2018). The complaint must, however, plead allegations that

state a plausible claim. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007)). “A claim has ‘facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable


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         While the Combs Defendants vehemently deny the allegations in the Complaint and will disprove them if
the case proceeds to the merits, these allegations are taken as true for the purposes of this motion to dismiss.

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for the misconduct alleged.’” Forest Park Pictures v. Universal Tel. Network, Inc., 683 F.3d

424, 429 (2d Cir. 2012) (quoting Ashcroft, 556 U.S., at 678). It is not enough to assert mere

“labels and conclusions, and a formulaic recitation of the elements of a cause of action will not

do.” Bell Atl. Corp., 550 U.S. at 555. A court “is not required to credit conclusory allegations

unsupported by facts . . . or to suspend common sense in conducting its analysis.” AJ Energy

LLC v. Woori Bank, No. 18-cv-3735 (JMF), 2019 WL 4688629, at *3 (S.D.N.Y. Sept. 26, 2019),

aff’d, 829 F. App’x 533 (2d Cir. 2020) (internal citation omitted)

       “Where the dates in a complaint show that an action is barred by a statute of limitations,”

a defendant may move for pre-answer dismissal on those grounds. Ghartey v. St. John’s Queens

Hosp., 869 F.2d 160, 162 (2d Cir. 1989). “Such a motion is properly treated as a Rule 12(b)(6)

motion to dismiss for failure to state a claim upon which relief can be granted.” Id.

                                          ARGUMENT

I.     PLAINTIFF’S GMVL CLAIM IS UNTIMELY BECAUSE STATE LAW
       PREEMPTS THE GMVL’S REVIVAL PROVISION

       Plaintiff’s claim is based on a single incident that allegedly occurred in 2008. See Compl.

¶ 38. Because the GMVL’s statute of limitations is seven years, this claim expired nearly a decade

before it was filed. See N.Y.C. Admin. Code § 10-1105(a) (seven-year statute of limitations for

GMVL). Plaintiff cannot save his expired GMVL claim by invoking a recent amendment that

purports to establish a revival window through 2025, because that amendment is preempted by

New York State law. See id. (GMVL amendment, effective January 2022, creating two-year

revival window from 2023-2025); Parker v. Alexander, No. 24-CV-4813 (LAK), 2025 WL

268436, at *2-3 (S.D.N.Y. Jan. 22, 2025) (holding that the GMVL’s revival window is preempted

by the CVA and ASA); Bellino v. Tallarico, No. 24-cv-0712 (LAK), 2024 WL 1344075, at *1

(S.D.N.Y. Feb. 21, 2024) (same).


                                                     3
       State law may preempt local law expressly or implicitly. DJL Rest. Corp. v. City of New

York, 96 N.Y.2d 91, 95 (2001). Implicit preemption occurs when the state legislature has “enacted

a comprehensive and detailed regulatory scheme in a particular area” such that the local

government is “precluded from legislating on the same subject matter unless it has received ‘clear

and explicit’ authority to the contrary.” Id. (citations omitted); see also Albany Area Builders Ass’n

v. Town of Guilderland, 74 N.Y.2d 372, 377 (1989) (“Where the State has preempted the field, a

local law regulating the same subject matter is deemed inconsistent with the State’s transcendent

interest, whether or not the terms of the local law actually conflict with a State-wide statute.”).

That is precisely what the New York State Legislature did by its enactment of the Child Victims

Act of 2019 (the “CVA”) and its corollary for adult victims, the Adult Survivors Act (the “ASA”).

       Through the CVA and ASA, the legislature occupies the entire field of claim revival for

sexual offense-related claims by establishing a comprehensive and detailed regulatory scheme.

Together, the two statutes cover revival of all claims and causes of action for misconduct tied to

a sexual offense under the New York Penal Code §§ 130 et seq. See CPLR §§ 214-g, 214-j. Both

statutory revival windows have closed—on August 14, 2021, and November 24, 2023, for the

CVA and ASA respectively. See Oawlawolwaol v. Boy Scouts of Am., No. 21-cv-4714 (PKC)

(JMW), 2021 WL 4355880, at *1 n.1 (E.D.N.Y. Sept. 24, 2021); K.W. v. Cnty. of Rockland, 83

Misc. 3d 1023, 1024 (Sup. Ct. Rockland Cnty. 2024).

       Because the CVA and ASA exclusively occupy the entire field of claim revival for sexual

offense-related claims, they therefore preempt the revival provision of the GMVL. Parker, 2025

WL 268436, at *2 (“The CVA and ASA therefore occupy the field of revival of civil claims arising

from violations of state sexual offense penal statutes, preempting local laws like the [GMVL]

Revival Amendment to the extent that they purport to revive the same category of claims.”).



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       The sequence of enactments of the CVA and ASA further “confirms the legislature’s intent

to occupy the field.” Parker, 2025 WL 268436, at *3. The GMVL’s revival amendment was

“enacted in January 2022, over four months before the passage of the ASA.” Id. The New York

state legislature could “easily could have carved the [GMVL] out of the ambit of the ASA.” Id.

Instead, it choose not to do so, applying the ASA “broadly to ‘every civil claim or cause of action’

brought by adult victims of sexual offenses” under Article 130 of New York Penal Law,

necessarily including claims that could be brought under the GMVL. Id. Moreover, the ASA

applies “notwithstanding any provision of law which imposes a period of limitation to the

contrary.” Id. (quoting CPLR § 214-j). The New York legislature “could have stated that the ASA

applies notwithstanding any more restrictive limitations period.” Id. (emphasis in original). But

instead, it deliberately choose not to do so, “despite its presumed awareness” of the GMVL’s

earlier-enacted revival amendment. Id.

       On their face, the GMVL’s revival amendment conflicts with the CVA’s and the ASA’s

revival windows. Id. (“The revival windows created by the ASA and the [GMVL] Revival

Amendment conflict.”). The GMVL authorizes claims for overlapping sexual offenses to be

brought from March 1, 2023 through March 1, 2025. N.Y.C. Admin. Code § 10-1105(a). This is

long after the revival windows had closed under the CVA (August 2021) and the ASA (November

2023). In other words, the GMVL amendment creates a new revival window for claims rooted in

sexual misconduct that is inconsistent with the deadlines set by the ASA and CVA. Parker, 2025

WL 268436, at *3. By extending the revival period for certain claims relating to sexual

misconduct, the amendment’s expansion stands in direct conflict with the ASA’s and CVA’s

mandates that their revival periods control “[n]otwithstanding any provision of law which imposes

a period of limitation to the contrary.” Id. (quoting CPLR § 214-j). Where, as here, “the legislature



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has intended to revive time-barred claims, it has typically said so unambiguously, providing a

limited window when stale claims may be pursued.” Id. Allowing the GMVL to extend the revival

window for claims based on sexual offenses after the ASA’s window closed “would conflict with

the legislature’s creation of such a limited window.” Id.

         Applying this logic, courts in this district have recently held that the ASA and CVA

preempt the GMVL’s revival amendment, thereby warranting dismissal of otherwise untimely

claims falling outside of the ASA and CVA revival windows. See Parker, 2025 WL 268436, at

*2-3 (dismissing GMVL claims falling outside CVA and ASA revival windows); Bellino, 2024

WL 1344075, at *1 (same). 2

         Furthermore, to the extent there is any doubt the ASA and/or CVA preempts GMVL’s

revival window, that doubt must be resolved in favor of preemption because “[r]evival is an

extreme exercise of legislative power” and “[u]ncertainties are resolved against consequences so

drastic.” Regina Metro. Co., LLC v. New York State Div. of Hous. and Cmty. Renewal, 35 N.Y.3d

332, 371 (2020). To balance this extreme exercise of legislative power and its “upsetting [of] the

strong public policy favoring finality, predictability, fairness and repose served by [the] statute[]

of limitations,” the state legislature provides only “a limited window when stale claims may be

pursued.” Id. at 371- 72. Here, the New York State Legislature made the deliberate choice to

revive stale claims arising from sexual misconduct for only limited periods of time pursuant to the

CVA and ASA. A local law cannot be permitted to upset that policy determination by creating an


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          The Combs Defendants acknowledge that Judge Clarke recently issued two decisions rejecting the argument
that the CVA preempts the GMVL. See Doe v. Black, No. 23-CV-6418 (JGLC), 2024 WL 4335453, at *3-7 (S.D.N.Y.
Sept. 27, 2024); Doe v. Combs, No. 23-CV-10628 (JGLC), 2024 WL 4987044, at *2 (S.D.N.Y. Dec. 5, 2024). Neither
of those decisions substantively addressed, as Parker did, how the GMVL’s revival provision could be given effect
when it is inconsistent with the CVA and ASA’s revival provisions which apply “[n]otwithstanding any provision of
law which imposes a period of limitation to the contrary” CPLR § 214. Moreover, in Black, Judge Clarke certified
this very issue for interlocutory appeal to the Second Circuit, where the defendant’s petition for interlocutory review
is currently sub judice. See Doe v. Black, 24-3025 (2d Cir.), Doc. Nos. 2, 5, 7.


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enlarged revival window for claims covered by the ASA’s and CVA’s revival windows. For these

reasons, the GMVL claim must be dismissed as untimely.

II.    PLAINTIFF FAILS TO ALLEGE THE REQUIRED GENDER ANIMUS
       ELEMENT OF A GMVL CLAIM

       To plead a claim under the GMVL, “a plaintiff must plead that (1) the alleged act

constitutes a misdemeanor or felony against the plaintiff; (2) presenting a serious risk of physical

injury; (3) that was perpetrated because of plaintiff’s gender; (4) in part because of animus

against plaintiff’s gender; and (5) resulted in injury.” Eckhart v. Fox News Network LLC, No.

20-cv-5593 (RA), 2021 WL 4124616, at *25 (S.D.N.Y. Sep. 9, 2021), on reconsideration in part,

No. 20-cv-5593 (RA), 2022 WL 4579121 (S.D.N.Y. Sep. 29, 2022) (emphasis added).

       Plaintiff has failed to allege that the alleged misconduct was perpetrated “because of

plaintiff’s gender” and “in part because of an animus against plaintiff’s gender.” Id. “Generally,

the animus element requires the plaintiff to present extrinsic evidence of the defendant’s expressed

hatred toward women as a group or allege specific actions and statements by the perpetrator during

the commission of the alleged crime of violence.” Rossbach v. Montefiore Med. Ctr., No.

19CV5758 (DLC), 2021 WL 930710, at *10 (S.D.N.Y. Mar. 11, 2021).

       We are aware of no cases in which a GMVL claim was sustained based on allegations that

a man was motivated by animus towards other men, nor is a sufficient basis for any such claim

alleged here. Plaintiff does not allege that Mr. Combs targeted men in particular. To the contrary,

the Complaint alleges (falsely and maliciously) that Mr. Combs has a “persistent and pervasive

pattern of abuse toward women, men, and minors.” Compl. ¶ 7; see also id. ¶¶ 12-19 (referring to

multiple lawsuits by women alleging assault by Mr. Combs). In an attempt to address this obvious

contradiction in his own pleading, Plaintiff nonsensically alleges that Mr. Combs’ alleged history

of indiscriminate abuse is evidence of a special hatred for each group:


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         Combs’ long history of violence against both women and men
         unequivocally establishes that his actions are motivated by gender. Combs
         has a profound contempt for women and a desire to dominate both minors
         and other men. His conduct shows a longstanding practice of denigrating,
         defeating and attempting to humiliate men, women and children. . . . But his
         actions are unequivocally motivated by the victims’ particular gender and
         age.

Compl. ¶ 21. But it is logically inescapable that a purported animus against all genders is the same

as an animus against no gender—they are all allegedly abused without prejudice and equally

subject to heinous mistreatment. See “Animus,” Merriam-Webster.com, https://www.merriam-

webster.com/dictionary/animus (last visited Feb. 6, 2025) (defining animus as “a usually

prejudiced and often spiteful or malevolent ill will”) (emphasis added); 3 cf. Jugmohan v. Zola, No.

98 CIV. 1509 (DAB), 2000 WL 222186, at *4 (S.D.N.Y. Feb. 25, 2000) (“The fact that all previous

victims of Defendant’s unwanted sexual advances were women underscores Plaintiff’s claim that

Defendant was motivated by a gender animus towards women”).

         Furthermore, Plaintiff does not allege, as he must, that this particular incident was

motivated by a hatred towards men. To the extent any motivation apart from sexual gratification

can be inferred from the facts alleged, it is the alleged business competition between Plaintiff’s

employer, Ecko Clothing, and Mr. Combs’ affiliated clothing line, Sean John. See Compl. ¶ 41

(alleging Mr. Combs said “Suck my dick, Ecko” during the alleged attack). Thus, nothing about

the alleged conduct indicates that Mr. Combs was allegedly motivated by animus against his own

gender. See Hughes v. Twenty-First Century Fox, Inc., 304 F. Supp. 3d 429, 455 (S.D.N.Y. 2018)

(even when presented with allegations of “egregious” conduct, “courts have dismissed GMVA

claims based on the plaintiff’s failure to state any facts showing that defendant’s alleged acts


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          Nero v. Uphold HQ Inc., 688 F. Supp. 3d 134, 139-40 (S.D.N.Y. 2023) (“When a term is not defined by
statute, courts may ‘look to its ordinary meaning found in contemporary dictionary definitions’” (citation omitted));
B.L. v. Agarkar, 82 Misc. 3d 846, 851 (Sup. Ct. N.Y. Cnty. 2024) (same).


                                                              8
demonstrated any hostility based on gender.”). 4

III.     THE GMVL CLAIM AGAINST THE COMPANY DEFENDANTS FAILS
         BECAUSE THE GMVL DID NOT APPLY TO CORPORATE ENTITIES AT THE
         TIME OF THE ALLEGED MISCONDUCT

         Plaintiff’s GMVL claim against the Company Defendants necessarily fails as a matter of

law because, at all relevant times alleged, the GMVL did not apply to corporate entities. In

asserting a GMVL claim against the Company Defendants, Plaintiff relies on the GMVL’s recent

(2022) amendment expanding liability to corporate entities, but that amendment is not retroactive.

See Combs, 2024 WL 4987044, at *2 (holding that GMVL cannot be applied retroactively to

alleged company conduct pre-dating 2022); Bensky v. Indyke, No. 24-CV-1204 (AS), 2024 WL

3676819, at *10 (S.D.N.Y. Aug. 5, 2024) (indirect liability claim under GMVL cannot be applied

retroactively to conduct pre-dating 2022).

         As originally enacted in 2000, the GMVL provided a cause of action against only the

individual who perpetrated a gender-motivated crime of violence. The City Council’s 2022

amendment to the statute expanded liability to any “party who commits, directs, enables,

participates in, or conspires in the commission of a crime of violence motivated by gender . . . .”

N.Y.C. Admin. Code § 10-1104 (emphases added). This legislative history was described by


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          In the context of alleged rape by a male against a female, the First Department has held that gender animus
can be inferred from the nature of the act itself. See Breest v. Haggis, 180 A.D.3d 83, 94 (1st Dep’t 2019). We are
unaware of any cases extending this holding to a male-on-male assault, nor does the logic of this holding naturally so
extend. While it may be reasonably inferable that a man who sexually assaults a woman thereby expresses an animus
towards women, it does not necessarily follow that a man assaulting a man is doing so out of a self-loathing hatred of
his own gender. Extending Breest’s holding to such cases is also at odds with the legislative purpose of the GMVL,
which was to fill the “void left” by the Supreme Court’s invalidation of the federal Violence Against Women Act.
N.Y.C. Admin Code § 10-1102 (Declaration of legislative intent). The GMVL’s declaration of intent emphasizes the
particular prevalence and danger of violence against women. Id. (gender motivated violence is the “leading cause of
injuries to women ages 15 to 44. . . . three out of four women will be the victim of a violent crime . . . 4,000,000
women a year are victims of domestic violence.”); see also Hughes, 304 F. Supp. 3d, at 455 (“actions arising from the
statute are invariably predicated on reprehensible conduct against female victims” (emphasis added). Thus, while a
sexual assault by a man against a woman can be presumed to be the type of injury that the GMVL was designed to
address even in the absence of other evidence of animus, the same presumption does not apply to a male-on-male
assault.


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Judge Clarke in a recent opinion involving claims against Mr. Combs:

       Prior to the 2022 amendment, the VGMVPL provided: “any person claiming to be
       injured by an individual who commits a crime of violence motivated by gender ...
       has a cause of action against such individual in any court of competent jurisdiction
       ....” N.Y.C. Admin. Code § 10-1104 (2000) (previously codified at § 8-904) (the
       “2000 VGMVPL”) (emphases added). In 2022, the VGMVPL was amended to
       provide a civil cause of action against “any person claiming to be injured by a party
       who commits, directs, enables, participates in, or conspires in the commission of a
       crime of violence motivated by gender has a cause of action against such party in
       any court of competent jurisdiction ....” N.Y.C. Admin. Code § 10-1104 (the “2022
       VGMVPL”) (emphases added). The 2022 VGMVPL therefore appears to expand
       the scope of liability: whereas the 2000 VGMVPL applied to any “individual,” the
       2022 VGMVPL applies to any “party.” And while the 2000 VGMVPL only
       included those who “commit[ed]” an action—the 2022 VGMVPL additionally
       includes those who “direct[ ], enable[ ], participate[ ] in, or conspire[ ] in” an action.

Combs, 2024 WL 4987044, at *2 (emphases in original).

       The Company Defendants could not have been held liable for any conduct under the

original GMVL because they are not “individuals.” See id. (holding that “individual” under the

original GMVL is “a single person, as opposed to a group or institution” and therefore cannot

apply to “corporations”); see also Mohamad v. Palestinian Auth., 566 U.S. 449, 454–57 (2012)

(explaining that the ordinary meaning of “individual” refers to “a natural person” as opposed to “a

corporation”).

       The City Council’s 2022 amendment to the GMVL expanded liability beyond individuals

and their direct conduct, potentially reaching any type of party who “directs, enables, participates

in, or conspires in” a GMVL violation. N.Y.C. Admin. Code § 10-1104. However, the courts

addressing this amendment have unanimously found that it cannot be applied retroactively to

conduct pre-dating 2022. See Combs, 2024 WL 4987044, at *4 (“the Court has concluded the

2022 VGMVPL is not retroactive”); Bensky, 2024 WL 3676819, at *9 (same conclusion).

       Because all the alleged underlying conduct in the Complaint transpired long before the

2022 amendment expanding liability to corporate entities, the GMVL claims against the Company

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Defendants must be dismissed.

IV.    THE GMVL CLAIM AGAINST THE COMPANY DEFENDANTS FAILS
       BECAUSE THERE ARE NO ALLEGATIONS OF CONDUCT SUBJECTING
       THEM TO LIABILITY

       Even if the GMVL could be applied retroactively to the Company Defendants (it cannot),

the Complaint does not allege a GMVL claim against them. The GMVL creates indirect liability

against a party only where it “directs, enables, participates in, or conspires in the commission of a

crime of violence motivated by gender.” N.Y.C. Admin. Code § 10-1104. No such allegation is

made against any of the Company Defendants, let alone all of them.

       As an initial matter, the Complaint fails to differentiate at all between the Company

Defendants, nor does it allege any specific conduct by them. This failure to distinguish between

any of the Company Defendants alone warrants dismissal of the claims against them. Under

Federal Civil Rule of Procedure Rule 8(a)(2), a complaint must “give each defendant fair notice

of what the plaintiff’s claim is and the ground upon which it rests.” Atuahene v. City of Hartford,

10 F. App’x 33, 34 (2d Cir. 2001) (quotation marks omitted). Accordingly, “[w]here a complaint

names multiple defendants, that complaint must provide a plausible factual basis to distinguish the

conduct of each of the defendants.” Ochre LLC v. Rockwell Architecture Planning & Design, P.C.,

No. 12 Civ. 2837 (KBF), 2012 WL 6082387, at *6 (S.D.N.Y. Dec. 3, 2012), aff’d, 530 Fed Appx

19 (2d Cir. 2013). A complaint may not simply “lump[ ] all the defendants together in each claim

and provid[e] no factual basis to distinguish their conduct.” Atuahene, 10 F. App’x at 34; accord

Nesbeth v. N.Y.C. Mgmt. LLC, No. 17 Civ. 8650 (JGK), 2019 WL 110953, at *3 (S.D.N.Y. Jan. 4,

2019). Accordingly, where, as here, “not a single allegation specifies which defendant engaged in

what misconduct,” dismissal for impermissible group pleading is warranted. Bardwil Indus. Inc.

v. Kennedy, No. 19 CIV. 8211 (NRB), 2020 WL 2748248, at *3 (S.D.N.Y. May 27, 2020).

       Even apart from its impermissible group pleading, none of the allegations in the Complaint
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can make out a GMVL claim against any of the Company Defendants. At most, the Complaint

alleges in entirely conclusory manner that 1) all Company Defendants should have known of Mr.

Combs’ propensity for sexual assault and have taken measures to restrain him; or 2) that Mr.

Combs used his positions at all Company Defendants in some unspecified way to commit assaults.

See Compl. ¶¶ 50-53. None of these allegations give rise to a plausible inference that any of the

Corporate Defendants “commit[ted], direct[ed], enable[d], participate[d] in, or otherwise

conspire[d]” to commit a sexual assault. N.Y.C. Admin. Code § 10-1104; O’Rear v. Diaz, No. 24

Civ. 1669 (PAE), 2025 WL 283169, at *9 (S.D.N.Y. Jan. 23, 2025) (dismissing GMVL claim

against entities because “as pled, the corporate defendants did not do anything to commit, direct,

enable, participate in, or conspire in the commission” of alleged sexual assault) (cleaned up);

Declaration of Mark Cuccaro in Support of Motion to Dismiss, dated Feb. 11, 2025, Ex. A,

Delgado v. Donald J. Trump for President, Inc., No. 952333/2023 (Sup. Ct. N.Y. Cnty. Jan. 30,

2025), NYSCEF No. 127 (granting motion to dismiss GMVL claim against entity defendant

because “[t]he extent of allegation that [entity] enabled the violations of the [GMVL] [we]re a

simple conclusory statement that [the entity] so enabled [the alleged violence], and another

statement that . . . [the entity] ‘provided the means whereby [individual defendant] would be a

supervisor of plaintiff in unsupervised contexts’”); see also, e.g., Beter v. Baughman, No. 24-CV-

0079 (GHW) (RFT), 2024 WL 1333570, at *11, 13–14 (S.D.N.Y. Mar. 13, 2024), report and

recommendation adopted, No. 24-CV-79-GHW-RFT, 2024 WL 1329066 (S.D.N.Y. Mar. 28,

2024) (finding plaintiff failed to state claims for aiding and abetting sexual assault against

defendant who allegedly “introduced” plaintiff to the accused assaulter, “did so knowing that” the

accused assault “had a history of improperly touching women,” and told plaintiff “not to tell

anyone about the alleged sexual assault,” because “[n]othing in the Complaint supports a



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conclusion that [defendant] knew that his conduct would help [the alleged assaulter] sexually

assault Plaintiff or that [defendant] intended to help [the alleged assaulter] sexually assault

Plaintiff”).

        Indeed, there is not a single allegation that any specific person associated with any of the

Corporate Defendants (other than Mr. Combs) had any knowledge of the alleged assault at all. See

O’Rear, 2025 WL 283169, at *9 (dismissing GMVL claim against entities in absence of allegation

that they “had foreknowledge of the crime”).

        Moreover, the vague and conclusory claim that the Company Defendants should have

known about and somehow stopped Mr. Combs’ actions sounds in negligence. See Adorno v.

Corr. Servs. Corp., 312 F. Supp. 2d 505, 517 (S.D.N.Y. 2004) (company defendant’s alleged

“notice of [employee’s] propensity to commit sexual acts” from prior complaints was only relevant

to negligence, not liability for the assault itself ) (citing Cronin v. Hertz Corp., 818 F.2d 1064,

1068 (2d Cir.1987)). But the GMVL does not create a cause of action for negligently failing to

stop an act of gender-motivated violence. It requires an active contribution to the violation, in the

form of either “direct[ing], enabl[ing], participat[ing] in, or otherwise conspir[ing]” to commit it.

N.Y.C. Admin. Code § 10-1104. No such active contribution is alleged. Plaintiff is impermissibly

attempting to do an end run around the three-year statute of limitations that would apply to a true

negligence claim. See CPLR § 214. But the GMVL does not support claims for negligence and

this attempt should be rejected.

        Furthermore, Plaintiff’s allegation that the Company Defendants could have prevented any

alleged assault is not supported by a single factual allegation. Plaintiff does not allege any fact

giving rise to the plausible inference that at the time of the alleged misconduct in 2008, any of the

Corporate Defendants had knowledge of any purported propensities for misconduct. See O’Rear,



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2025 WL 283169, at *9 (dismissing GMVL claim against entities in absence of allegation showing

that company defendants had knowledge of individual perpetrator’s “predilection to commit such

a crime.”). Instead, Plaintiff points to the mere fact of “other civil lawsuits” against Mr. Combs

(Compl. ¶ 50), the earliest of which was filed in November 2023 (Id. ¶ 12). Allegations in

unsubstantiated lawsuits filed more than 15 years after the alleged incident do nothing to shore up

an allegation that in 2008 any of the Corporate Defendants (let alone each of them) had any

awareness of any purported propensity of misconduct. These allegations are nothing more than

the sort of “formulaic recitation[s] of the elements” of the cause of action that courts routinely

reject as insufficient. Bell Atl. Corp., 550 U.S., at 555; see also, e.g., Doe v. Alsaud, 12 F. Supp.

3d 674, 680 (S.D.N.Y. 2014) (granting motion to dismiss negligent supervision and retention claim

where the pleadings lacked any factual allegations that the defendant “knew or should have

known” of the tortfeasor’s alleged “predisposition for abusing women, his violent propensities,

and his status as a sexual predator, yet did nothing to stop it”).

       The only other allegation against the Company Defendants—that Mr. Combs “used his

titles and authority conferred by the Combs Business . . . to facilitate and perpetuate the violent

assault on Plaintiff”—fares no better. Compl. ¶ 53. As an initial matter, this is an entirely

conclusory statement that cannot be credited—it provides no explanation of how Mr. Combs’

affiliation with these entities was actually related to the alleged assault. See AJ Energy LLC, 2019

WL 4688629, at *3 (a court “is not required to credit conclusory allegations unsupported by

facts”). Moreover, the allegation only relates to actions by Mr. Combs to abuse his positions of

authority. It does not allege the kind of active participation by the Company Defendants that could

subject them to liability under the GMVL.




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       Finally, to the extent that Plaintiff’s unclear and unsupported allegations are construed as

making a respondent superior claim against the Company Defendants, this claim would

necessarily fail as a matter of law. Under New York law, an employer may be responsible for the

acts of its employees “only if those acts were committed in furtherance of the employer’s

business and within the scope of employment.” N.X. v. Cabrini Med. Ctr., 97 N.Y.2d 247, 251

(2002). Sexual misconduct “arise[s] from personal motives and do[es] not further an employer’s

business.” Swarna v. Al-Awadi, 622 F.3d 123, 144–45 (2d Cir. 2010). Therefore, “[i]t is well-

settled in the Second Circuit” that “sexual misconduct is necessarily outside the scope of

employment.” Doe v. New York City Dep’t of Educ., No. 21-cv-4332, 2023 WL 2574741, at *5

(E.D.N.Y. Mar. 20, 2023) (emphasis added); see also, e.g., Doe v. Solebury Sch., No. 21-cv-

06792 (LLS), 2022 WL 1488173, at *3-4 (S.D.N.Y. May 11, 2022) (dismissing vicarious liability

claim against employer related to sexual assaults); Alsaud, 12 F. Supp. 3d at 677 (S.D.N.Y. 2014)

(dismissing respondeat superior claim against employer and noting that “[n]o decision in New

York has been cited to date in which the doctrine of respondeat superior was held to apply to

sexual assault”). Accordingly, such misconduct cannot be imputed to a corporate employer.

       Accordingly, no conduct supporting a violation of the GMVL has been alleged against the

Company Defendants, and the claim against them must be also be dismissed on this independent

ground.

                                        CONCLUSION

       For all the foregoing reasons, the Combs Defendants respectfully request that the Court

issue an order dismissing the Complaint against them in its entirety with prejudice.




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Dated: February 11, 2025
       New York, New York
                            Respectfully submitted,

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